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                                          March 26, 2026



Office of the Clerk
United States Court of Appeals for the D.C. Circuit
333 Constitution Avenue, NW
Washington, DC 20001

No. 24-1151, United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied
Industrial and Service Workers International Union, AFL-CIO v. U.S. Environmental
Protection Agency
Rule 28(j) Letter and Submission of Supplemental Standing Declaration
In our opening brief, Labor Petitioners believed that it was self-evident that two industrial unions
with more than a half million members represented workers exposed to toxic chemicals whose
risks may be evaluated by EPA had standing. At oral argument, members of the Panel
questioned Labor Petitioners’ standing and noted the absence of any standing declaration. We
urge the Panel to exercise its discretion, consistent with Nat’l Council for Adoption v. Blinken, 4
F.4th 106, 111 (D.C. Cir. 2021), to consider the attached declaration.
To establish organizational standing, USW must point to a “concrete and demonstrable injury to
[its] activities” caused by agency action. Equal Rts. Ctr. v. Post Properties, Inc., 633 F.3d 1136,
1138 (D.C. Cir. 2011). Once USW demonstrates that “the agency’s action” will injure “the
organization’s interest,” it must show that it used or will use “its resources to counteract the
harm.” PETA v. USDA, 797 F.3d 1087, 1094 (D.C. Cir. 2015).
The Declaration outlines USW’s advocacy for toxic chemical regulation in the workplace, and
establishes that many of USW’s members are exposed to chemicals whose risk evaluation is
subject to the challenged Framework Rule. Decl. ¶¶ 8–13. If EPA is permitted to consider
respirator use during risk-evaluation, USW will be obligated to conduct costly surveys of
respirator usage across its local unions across the country, diverting staff resources from other
union priorities. Id. ¶ 15.
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USW also has associational standing. Ctr. for Sustainable Econ. v. Jewell, 779 F.3d 588, 596
(D.C. Cir. 2015). USW members’ health would be harmed by any underestimation of chemical
exposure triggered by EPA’s erroneous consideration of respirator use at the risk-evaluation
phase and protecting members’ health is germane to USW’s purpose. Decl. ¶ 14.
Finally, we attach a copy of the AFL-CIO’s comments on the Framework Rule describing the
industries represented by various unions, including Petitioner USW. These comments, Exhibit
214 in the Administrative Record, were omitted from the Joint Appendix filed in this case.



                                                          /s/ Randy S. Rabinowitz
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     COMMENTS ON EPA’S PROPOSED RULE ON PROCEDURES FOR CHEMICAL
     RISK EVALUATION UNDER THE TOXIC SUBSTANCES CONTROL ACT (TSCA)
                       ID: EPA-HQ-OPPT-2023-0496-0001

                                             December 14, 2023

        These comments are submitted jointly by the American Federation of Labor and
Congress of Industrial Organizations (AFL-CIO), North America’s Building Trades Unions
(NABTU), the International Union, United Automobile, Aerospace & Agricultural Implement
Workers of America (UAW), and the United Steel, Paper and Forestry, Rubber, Manufacturing,
Energy, Allied Industrial and Service Workers International Union (USW). The AFL-CIO is the
federation of 60 national and international labor unions representing 12.5 million working people
across a wide variety of industries. NABTU is a labor organization representing more than 3
million skilled craft professionals in the United States and Canada and is composed of fourteen
national and international unions and over 330 provincial, state and local building and
construction trades councils. The UAW represents more than 1 million active and retired
members in North America, with members in virtually every sector of the economy, including
multinational corporations engaged in manufacturing, small manufacturers, state and local
governments, colleges, universities, hospitals, and private non-profit organizations. The USW is
North America’s largest industrial union, representing 1.2 million members and retirees in many
industries throughout the United States, Canada, and the Caribbean.

    These comments address EPA’s proposed revisions to the “Procedures for Chemical
Risk Evaluation under the Toxic Substances Control Act.”1 They focus on aspects of
EPA’s proposal that directly affect workers and about which we have the greatest
experience and expertise after decades of investigating occupational health and safety
hazards on behalf of our members and of participating in Occupational Safety and Health
Administration and National Institute for Occupational Safety and Health research,
regulatory and enforcement efforts. We also include comments on issues that have been
addressed by unions in Safer Chemicals v. EPA, No. 17-72260 (9th Cir.) and Neighbors
for Environmental Justice v. EPA, No. 20-72091 (9th Cir.). We leave it to others to
address issues raised by the proposal which do not uniquely affect workers in their
workplaces.

      I.       EPA Must Make Risk Determinations Without Considering PPE Use

      Our comments focus principally on EPA’s practice, prior to June 2021, to “assume[] that
workers were always provided and appropriately used PPE,”2 based on the false premise that

1
    88 Fed. Reg. 74292 (October 30, 2023).
2
    Id. at 74294.
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OSHA regulations “might” require PPE use. We have argued in our comments on numerous
other EPA proposals that such an approach was contrary to the requirements of TSCA,
inconsistent with the “best available science,” contrary to established OSHA and NIOSH
practice, and lacking factual support. Assuming the use of PPE in analyzing risk was
unprecedented; no Federal agency risk evaluation of occupational exposures has ever done so.

EPA has now proposed to adopt 40 CFR 702.39(f)(2), which provides:

        In determining whether unreasonable risk is presented, EPA’s consideration of
        occupational exposure scenarios will take into account reasonably available
        information, including known and reasonably foreseen circumstances where
        subpopulations of workers are exposed due to the absence or ineffective use of
        personal protective equipment. EPA will not consider exposure reduction based
        on assumed use of personal protective equipment as part of the risk
        determination.3

        EPA must make risk determinations without regard to PPE use. We fully support EPA’s
decision not to assume the use of PPE in making a risk determination. Neither should EPA
consider PPE use “when it has reasonably available information” on PPE.4 Thus, EPA should
eliminate the first sentence of proposed 702.39(f)(2). This sentence implies that there is some
universal duty to provide PPE to workers at all exposure levels and that “unreasonable risk”
results only when subpopulations do not use PPE or use it ineffectively. This assumption is
wrong. No requirement exists to provide PPE to workers at the levels of exposure EPA is
evaluating. Accepted industrial hygiene practice, as well as OSHA regulations, require that
worker exposures be measured, and risk determined, without regard to respirators.

        TSCA requires that EPA ignore the effect of PPE in assessing risk. PPE should be
considered during risk management as a possible exposure control measure in combination with
other control measures.

    A. TSCA Prohibits EPA From Considering PPE in Risk Evaluation.

         EPA’s assumptions about PPE use run counter to Congress’s deliberate separation of the
risk-evaluation and risk management processes. TSCA Section 6(b) provides that EPA “shall
conduct risk evaluations … to determine whether a chemical substance presents an unreasonable
risk of injury to health or the environment . . . .”5 Only after completing a risk evaluation and
determining that a chemical presents an unreasonable risk may EPA assess its options for

3
  Id. at 74322.
4
  Id. at 74305.
5
  15 U.S.C. § 2605(b)(4)(A).

                                                2
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managing that risk pursuant to Sections 6(a) and 6(c).6 Those sections provide that EPA “shall
consider” multiple risk management tools pursuant to factors prescribed in the statute, and
“shall… apply one or more” of those tools “so that the chemical… no longer presents
[unreasonable] risk.”7

        Congress separated risk management from risk evaluation to ensure that the agency
makes its determination of whether a chemical poses unreasonable risk based only on health and
environmental effects.8 Decisions about how to control that risk, which necessarily implicate
“costs [and] other non-risk factors,” can be made only during risk management.9 EPA’s prior
assumption of widespread PPE use impermissibly conflated risk evaluation with risk
management; its proposed regulation would fix that error. However, EPA should not take even
“reasonably available information” about PPE use into account in assessing risk.

        “Respirators are protective equipment” used to limit worker exposures.10 It is the least
effective method of controlling occupational exposures and represents the lowest rung on the
hierarchy of controls. Were EPA to consider PPE use during risk evaluation, it would
underestimate the risks workers face and bypass the analysis required during the risk
management process of what regulatory approach best eliminates the unreasonable risk posed to
workers. If EPA assumes PPE use it would impermissibly be selecting a risk management
approach in the Risk Evaluation itself—without comparing the relative efficacy of PPE to other
potential control methods, and without any mechanism for ensuring that the assumed PPE would
actually be provided and used. Besides, EPA has repeatedly emphasized the limits of the
protection afforded by respirators.11

    B. The Best Available Science Requires EPA To Ignore PPE Use in Risk Evaluation.

        The best available science, and established OSHA regulatory policy, require that
occupational exposure be measured without regard to respirator use. EPA’s earlier assumption of
widespread PPE use, therefore, violated TSCA’s requirement, applicable to both risk evaluation
and risk management, that EPA use “methods, protocols [and] methodologies… in a manner
consistent with the best available science.”12



6
  Id. § 2605(a), (c)(2).
7
  Id.
8
  See id, § 2605(b)(4) (prohibiting EPA from considering “non-risk factors” in risk evaluations).
9
  Id. § 2605(b)(4), 2605(c)(2) (requiring EPA to consider the “the costs and benefits” of different regulatory options
before issuing a risk management rule).
10
   Sec’y of Labor v. Seward Ship Drydock, 937 F.3d 1301, 1303 (9th Cir. 2019).
11
   See e.g., 88 Fed. Reg. 28319 (methylene chloride risk management proposal); 88 Fed. Reg. 49207 (carbon
tetrachloride risk management proposal); 88 Fed Reg 39691 (perchloroethylene risk management proposal).
12
   Id. § 2625(h).

                                                          3
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        Core industrial hygiene principles require the measurement of worker exposures, and
hence risk, without regard to PPE use, so that PPE can be considered along with other, preferred
forms of risk management pursuant to the “hierarchy of controls.” This hierarchy, which “has
been established industrial hygiene practice since the 1950s,” prioritizes chemical elimination,
substitution, engineering controls, and administrative controls over the use of PPE, and prohibits
employers from relying on PPE until they have exhausted those preferred options.13 OSHA has
incorporated the hierarchy of controls into virtually every health standard it has issued.14

         EPA’s proposed revised Framework rules would codify long-standing industrial hygiene
practice of measuring risk without regard to PPE use. Both OSHA and NIOSH have repeatedly
told EPA that the assumption that all workers wear PPE is flawed. In commenting on EPA’s
initial draft methylene chloride risk evaluation, for example, NIOSH advised that “[i]n
occupational risk assessment, risk should be calculated without regard for respiratory protection.
This encourages use of the hierarchy of controls, long-standing industrial hygiene best practice.”
OSHA advised EPA that respirators are required only when exposures exceed the Agency’s
exposure limits. We attached several of these comments by OSHA and NIOSH to comments on
EPA’s earlier TSCA proposals; we do so again now. EPA’s proposed revision to the Framework
rule foreswearing reliance on PPE in assessing risk is consistent with the views NIOSH and
OSHA have expressed. We urge EPA to place the comments it has received from both agencies
on various risk evaluations in the public docket.

        What is more, the effect of PPE use cannot be measured. Sampling devices cannot be
attached inside a respirator’s face piece. Standard industrial hygiene practice requires that
employee exposure be measured without regard to PPE use. Every OSHA comprehensive OSHA
health standard defines employee exposure as the monitored level of chemical in an employee’s
breathing zone, without regard to respirator use.15 Indeed, we are unaware of any prior Federal
occupational risk assessment that assumed the use of PPE in characterizing worker exposure.
EPA’s prior assumption of widespread respirator use was an unprecedented effort to artificially
reduce the exposure dose evaluated. EPA is correct to abandon the earlier approach.




13
   See 62 Fed. Reg. at 1582 (Description of hierarchy of controls in OSHA’s methylene chloride standard).
14
   Most OSHA health standards include a section titled “methods of compliance” and this section routinely requires
employers to meet the OSHA PEL through reliance on engineering and administrative controls and permits
respirator use only when other controls are not feasible. See e.g., 29 CFR 1910.1001(f)(asbestos); 29 CFR
1910.1017(f)(vinyl chloride); 29 CFR 1910.1025(e)(lead); 29 CFR 1910.1052(f)(methylene chloride).
15
   See 29 C.F.R. § 1910.1052(b); 29 C.F.R. § 1910.1001(b) (defining employee exposure in asbestos standard); id.
§ 1910.1025(d)(1)(i) (defining employee exposure in lead standard); id. § 1910.1048(b) (defining employee
exposure in formaldehyde standard).

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     C. OSHA Regulations Do Not Require PPE Use Below the OSHA Exposure Limit

        EPA justified its earlier assumption of widespread PPE use by claiming that it “does not
believe it should assume that workers are unprotected by PPE where such PPE might be
necessary to meet federal regulations.”16 Even in its proposed revisions to the Framework rule,
however, EPA continues to claim that it “is not suggesting there is widespread non-compliance
with applicable OSHA standards.”17 The first sentence of proposed section 702.39(f)(2)
implicitly continues the flawed assumptions that PPE may already be required or routinely used
at EPA’s exposure limits and that risk results only when PPE is not provided or used improperly.

        But there is no legal requirement that employers provide PPE at the levels of exposure
EPA is evaluating. As we explain below, no OSHA standard requires PPE under these
circumstances. No evidence exists that most employers routinely provide such equipment. And,
if they did rely primarily on respirators to protect workers, their actions would be incompatible
with OSHA regulations that incorporate the hierarchy of controls. EPA must abandon the notion
that there is some ongoing duty to protect workers from exposures below the OSHA PEL. There
simply is none.

        As OSHA has explained in its comments on EPA’s proposed methylene chloride risk
evaluation, “It is important to note that respirators are required only when concentrations will
exceed the [OSHA] PEL.” EPA has recognized the fact that there is a gulf between the exposures
that OSHA regulates and those that EPA must regulate under TSCA.18 Absent EPA action under
section 6(a) of TSCA, employers have no duty to protect any workers from exposures between
the levels OSHA regulates and the levels EPA finds present unreasonable risk.

       The Occupational Safety and Health Act requires employers only to comply with OSHA
standards, but not to exceed them.19 Under most OSHA health standards, employers are required
to reduce exposures to the OSHA permissible exposure limit (PEL) and to do so using
engineering and work practice controls alone wherever feasible.20




16
   EPA Response to Comments on Methylene Chloride Risk Evaluation, EPA Document No. EPA-740-R2-0022 at p.
161 (emphasis added).
17
    88 Fed.Reg. 74304.
18
     See e.g. “Trichloroethylene (TCE); Regulation Under the Toxic Substances Control Act (TSCA),” 88 Fed. Reg.
74712, 74719 (Oct. 31, 2023) (EPA believes that OSHA chemical standards would in general be unlikely to address
unreasonable risk within the meaning of TSCA).
19
   29 U.S.C § 654(a)(2); see also 62 Fed. Reg. at 1581 (requiring the use of respirators “only if occupational
exposures [to methylene chloride] … are likely to exceed the … PEL”). See also, Sec’y of Labor v. Seward Ships
Drydock, 937 F.3d 1301 (9th Cir 2019) (interpreting OSHA’s respirator standard, 29 CFR 1910.134 as requiring
protection when exposures exceed permissible levels).
20
   See n.13, supra.

                                                       5
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        OSHA has two types of standards that set PELs for toxic substances. In the first two
years after passage of the OSH Act, section 6(a) of the OSH Act authorized OSHA to adopt
existing consensus and established federal standards as OSHA standards without notice and
comment. These 6(a) standards, many of which remain in effect today, were based on science
from the 1960s or before and are widely viewed as woefully out of date.21 Section 6(a) standards
set exposure limits, but do not require exposure monitoring, medical surveillance, regulated
areas, hygiene facilities or other ancillary protections for workers.

         OSHA also has authority to issue comprehensive standards under section 6(b)(5) of the
OSH Act and has issued approximately 40 such health standards since 1970.22 To issue a
standard under section 6(b)(5), OSHA must demonstrate that a toxicant poses a significant risk
of material impairment of health or functional capacity, that reducing exposures will eliminate or
reduce the significant risk, and that it is economically and technologically feasible for the
affected industries to control exposures to the PEL.23 OSHA has never adopted a health standard
that fully eliminates significant risk—which OSHA defines as a risk of 1 in 1,000 workers—
because feasibility constraints limit its ability to do so.

    Nor does the general duty clause require employers to reduce exposures to the limits
EPA considers unreasonable. EPA has correctly identified many of the obstacles OSHA
would face if it tried to rely on the general duty clause to force reductions in chemical
exposures.24 Other obstacles exist as well. For example, OSHA regulations provide that
where a specific standard already applies, the general duty clause does not.25 OSHA has
advised its inspectors that “section 5(a)(1) shall not normally be used to impose a stricter
requirement” than required by an OSHA PEL.26 Further, to establish a general duty
clause violation, OSHA must show that reducing exposures below its PEL is feasible, 27
which—in promulgating its 6(b)(5) standards—OSHA has already determined it is not.
Finally, an analysis of the few recent general duty clause citations OSHA has issued for
chemical exposures reveals that none were simply for exposures above an occupational
exposure limit, but instead, were issued only where exposures led to clinical health
effects, most with symptoms of acute onset within a brief period of time after exposure,
and not chronic conditions.28 These factors make it entirely unrealistic that OSHA could,


21
   29 USC 655(a); See discussion of OSHA standard setting at 88 Fed. Reg. 28288 (Risk Management Proposal for
Methylene Chloride).
22
   29 USC 655(b)(5).
23
   See American Textile Mfrg. Inst. v. Donovan, 452 US 490 (1981).
24
   88 FR 28288.
25
   See 29 U.S.C § 654(a)(1); 29 C.F.R. § 1910.5(f). See also, Chewy, Inc v. Dep’t of Labor, No 19-0868 (11th Cir.
2023).
26
   OSHA Regulatory Directive, Inspection Procedures for the Respiratory Protection Standard at 5 (June 2014),
https://www.osha.gov/OshDoc/Directive_pdf/CPL_02-00-158.pdf.
27
   National Realty v. OSHA, 489 F.2d 1257 (D.C. Cir. 1973).
28
   AFL-CIO, Death on the Job at 141 (2023), available at https://aflcio.org/reports/death-job-toll-neglect-2023.

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or would, rely on the general duty clause to force exposure reductions to the levels EPA
identifies as posing an unreasonable risk.

        In support of EPA’s earlier assumption about PPE use, some pointed to OSHA’s
Respiratory Protection standard.29 This standard governs the protocol employers must follow to
protect employees from “hazards,” which OSHA defines as exposures above an OSHA PEL.30

        OSHA’s respiratory protection standard does not require employers to comply with risks
identified by other federal agencies. Nor does it impose a duty to protect workers from exposure
above the level another federal agency or organization recommends. OSHA's proposed
respiratory protection standard would have required employers to implement the hierarchy of
controls, even if OSHA had not adopted a PEL for a chemical, if exposures exceeded either a
NIOSH Recommended Exposure Limit (REL), an American Conference of Government
Industrial Hygienist (ACGIH) Threshold Limit Value (TLV) or "any exposure level based on
available scientific information, including Material Safety Data Sheets.”31 Had OSHA adopted
its proposal, an EPA determination of unreasonable risk might have triggered a duty to comply
with OSHA's respiratory protection standard.32

        OSHA rejected that approach when it issued its final respiratory protection standard and,
in doing so, made clear that the standard "does not identify the ACGIH TLVs or the NIOSH
RELs as references that would trigger required respirator use."33 Since OSHA considered and
rejected an approach that would have triggered the respirator standard based on "available
scientific information," such as an EPA finding of unreasonable risk, EPA's assumption that the
respirator standard might apply is plainly wrong – and OSHA has told EPA as much.

        Nor are employers required to follow suggested precautions included in a safety data
sheet. OSHA’s Hazard Communication standard requires chemical manufacturers to prepare
safety data sheets (SDSs) advising of a chemical’s hazards and recommended methods for
hazard control. But OSHA has made clear that “there is no requirement for employers to
implement the recommended controls” on an SDS (emphasis added).34 Even if there were such a
requirement, the health effect warnings and suggested hazard control methods included on SDSs
vary widely, and EPA has no information to indicate these suggestions mirror the steps necessary
to eliminate unreasonable risks.

29
    29 CFR 1910.134(a).
30
   See Sec’y of Labor v. Seward Ships Drydock, 937 F.3d at 1308. OSHA made the same point in its comments on the
methylene chloride risk evaluation.
31
    63 Fed. Reg. 1152, 1183 (Jan. 8, 1998) (emphasis supplied).
32
    Obviously, if OSHA regulations do not require employers to implement controls based on a finding of
unreasonable risk in a final risk evaluation, then they do not impose such a requirement based on a draft risk
evaluation. So, EPA has no basis for assuming those controls are already in place when estimating risk.
33
    Id.
34
    Hazard Communication, 77 Fed. Reg. 17,574, 17,693 (Mar. 26, 2012).

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        In short, OSHA’s respirator standard requires employers to control “hazards”—defined
by the PEL—following the hierarchy of controls and utilizing PPE only as a last resort. As EPA
has recognized in several proposed risk management rules, an unreasonable risk under TSCA is
not necessarily a "hazard" under OSHA regulations.35 And indeed, EPA has found that each of
the toxicants it has evaluated thus far poses unreasonable risks at levels orders of magnitudes
lower than OSHA’s PELs. Therefore, there is no basis for assuming that employers in full
compliance with either OSHA’s health standards or its respirator standard use PPE to reduce
exposure below a PEL, and certainly not to the exposure levels which EPA finds pose
unreasonable risk.

       D. EPA Can Reasonably Forsee That Many Workers Are Not Protected From
          Unreasonable Risks.

        EPA must evaluate risks posed by a chemical’s “conditions of use,” which TSCA defines
as “the circumstances, as determined by the Administrator, under which a chemical substance is
intended, known, or reasonably foreseen to be manufactured, processed, distributed in
commerce, used, or disposed of.”36 We have no doubt that some employers have adopted internal
guidelines that require exposure reduction beyond the levels mandated by OSHA standards.
While efforts to reduce exposures beyond what OSHA requires are commendable, these policies
by individual employers are not universal and they are voluntary, not mandatory.

        Voluntary compliance efforts cannot be enforced; they can be dropped at any time. EPA
has repeatedly noted that “it does not question public comments” indicating some employers
have reduced exposures to levels below the OSHA PEL, but that observation is meaningless
from either a risk assessment or regulatory perspective. EPA cannot meet the requirements of
TSCA Section 6—to eliminate unreasonable risk—by pointing to unenforceable, voluntary
efforts by some, but not all, employers. It is reasonably foreseeable that many workers will not
be effectively protected by voluntary internal guidelines adopted by some employers.

        Moreover, when employers voluntarily choose to reduce exposures below the PEL, many
do so by insisting that workers wear respirators, rather than relying on engineering solutions to
reduce exposures. Reliance on respirators to protect workers from chemical exposures is not an
effective alternative to engineering or other controls, which is why it is at the very bottom of the
hierarchy of controls. Therefore, it is also reasonably foreseeable that PPE will not effectively
eliminate the unreasonable risk workers face.



35
     See e.g., 88 Fed. Reg. 74719.
36
     15 U.S.C. § 2602(4).


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        OSHA has consistently found respirators to be unreliable as protection against harmful
chemicals, warning that respirators are “uncomfortable to wear, cumbersome to use, and
interfere with communication in the workplace, which can often be critical to maintaining safety
and health.”37 Courts have upheld OSHA’s findings that respirators are “woefully inadequate” to
protect workers due to “problems with adequate facial fit, increased heat stress, reduced vision,
increased breathing resistance, speech limitation, limited mobility, and excess weight.”38 EPA
has previously acknowledged that “not all workers may be able to wear respirators,” or to wear
them safely and effectively.39 In its proposed ban on methylene chloride’s paint-stripping uses,
EPA declined to rely on respirators precisely because workers with impaired lung function—
such as those with asthma, emphysema, and chronic obstructive pulmonary disease—“may be
physically unable to wear a respirator,” and workers with facial hair “cannot wear tight-fitting
respirators” that require a face-to-respirator seal.40 EPA has repeated these observations in
several proposed risk management rules. In other words, the assumption that principal reliance
on PPE is an effective method of control for all workers is never a “best practice.”

        Even if respirators are being used to reduce exposures below the OSHA PEL, we doubt
EPA has any data to show that employers requiring respirator use comply with OSHA
requirements for periodic fit testing, medical testing, and employee training.41 Indeed, OSHA’s
respiratory protection standard is among the most frequently cited OSHA standard, indicating
that violations are common.42 Absent such fit testing and other procedures, the protection factor
assigned to a respirator under laboratory conditions is higher than the actual protection provided
in a factory or on a construction site, where working conditions are less than perfect. For all
these reasons, NIOSH advised EPA, in commenting on its initial methylene chloride risk
evaluation, that “it is not plausible to assume” that workers are protected by respirators.

     E. There are No Circumstances Under Which EPA Should Take Respirators Into
        Account in Assessing Risk

        The first sentence of proposed section 702.39(f)(2) provides that EPA “will take into
account reasonably available information including known and reasonably foreseen
circumstances where subpopulations of workers are exposed due to the absence or ineffective
use of personal protective equipment.” The preamble explains that “[w]here information is made

37
   62 Fed. Reg. at 1583. See also Occupational Exposure to Asbestos, Tremolite, Anthophyllite, and Actinolite, 51
Fed. Reg. 22,612, 22,693 (June 20, 1986) (describing the limits of respirator use); Occupational Exposure to
Respirable Silica, 81 Fed. Reg. 16,286, 16,293 (Mar. 25, 2016) (describing how OSHA health standards generally
rely on the hierarchy of controls and limit respirator use).
38
   See also Pub. Citizen Health Rsch. Grp. v. U.S. Dep’t of Lab., 557 F.3d 165, 179 (3rd Cir. 2009) (discussing why
respirators are strongly disfavored).
39
   See 82 Fed. Reg. at 7481.
40
   ASARCO v. OSHA, 746 F.2d 483, 496 n.27, 497 (9th Cir. 1984).
41
   62 Fed. Reg. at 1607, 1582.
42
   https://www.osha.gov/top10citedstandards

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available, the Agency will take into account known occupational control measures in the
exposure assessments.”43

        There are no circumstances when it is appropriate to take PPE into account when
assessing exposure. The notion that consideration of PPE use is necessary to depict “real world”
conditions is simply wrong.

        As we have detailed above: employee exposure is routinely measured without regard to
respirators; routine respirator use is neither required nor permitted under OSHA regulations or
industrial hygiene practice; there is no practical means of measuring exposure with respirators in
place since sampling devices cannot be placed inside a respirator facepiece; and without actual
measurement data, fit testing, and other protections, there is no reason to believe that the actual
protection provided by a respirator is the same as the assigned protection factor for that
respirator.

        Nor is there reason for EPA to suggest that somehow respirator use might be “inherent in
the performance of an activity.” Since OSHA regulations and industrial hygiene practice prohibit
principal reliance on respirators to protect workers, routine respirator use is almost never a “best
practice.” The circumstances in which PPE use is inherent in an activity, therefore, are few and
far between – perhaps only where an exposure may pose an imminent threat to life. Protecting
workers from chronic or latent effects rarely involves such circumstances.

        EPA can use “reasonably available information” about engineering and administrative
controls, as well as documented PPE use, in making its risk management decisions. In doing so,
however, EPA should not blindly accept industry assertions that workers are protected by PPE
nor should it rely on exposure monitoring data that does not have adequate industrial hygiene
notations accompanying it. Here, EPA should look to OSHA for guidance. OSHA has explained
the types of data it finds persuasive in estimating exposures. According to OSHA, “the best
evidence would be a data set that . . . was composed of comprehensive raw monitoring results
over the last several years including monitoring results from tasks associated with higher
exposure levels . . . .”44 OSHA further explained that “a data set that included neither
annotations, descriptions of existing controls, nor a site visit would be less useful,” although
these are often submitted to the record. OSHA does not consider data about PPE use relevant to
evaluating exposures.

         This is not to say that, in developing its risk management rules, EPA should ignore data
illustrating the reductions in exposure that can be achieved through “employer best practices.”
Existing control strategies and industry best practices can illustrate feasible approaches to

43
      88 Fed. Reg. 74305.
44
     54 Fed. Reg. 29145 (July 11, 1989) (OSHA Lead Remand).

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exposure control and help EPA identify the extent of exposure reductions these controls can
achieve. Existing engineering controls will be reflected in monitoring data, so it is reasonable for
EPA to consider process controls reflected in monitoring data.”45 When doing so, EPA should
only consider fully documented monitoring results that are representative of the exposures in a
condition of use.

        While EPA can reasonably point to “employer best practices” during risk management to
show the efficacy of its proposed workers control protection program, information on employer
best practices should play no role in risk evaluation.

II.       Other Issues Affecting Workers in the Framework Proposal

        USW was a petitioner in the litigation over the existing Framework rules, see Safer
Chemicals v. EPA, 943 F.3d 397 (9th. Cir. 2019), and the methylene chloride risk evaluation, see
Neighbors for Environmental Justice v. EPA, No. 20-72091 (9th Cir.). In both cases, the USW
joined environmental groups in arguing that several EPA interpretations of TSCA were invalid.
We applaud EPA for recognizing that the Framework rules issued in 2017 were inconsistent with
2016 TSCA amendments and is now proposing to reverse these unwarranted interpretations of
the 2016 TSCA amendments.

        Each of the unions joining these comments shares the positions taken by USW and
environmental groups in the briefs filed in each of the above-named cases. Many of EPA’s
proposed revisions mirror the interpretations of TSCA advanced by petitioners in these two
cases. and which are detailed extensively in comments filed by Earthjustice et al., in response to
this proposal. Each union agrees with EPA’s proposal to codify, in the revised Framework rules,
the TSCA interpretations advocated by USW in those and others in the above-captioned cases.
Specifically, the unions agree that:
            • EPA must consider all “conditions of use” and lacks discretion to ignore known
                or reasonably foreseeable conditions of use. See 88 Fed. Reg. 74296;
            • EPA must evaluate risks from all exposure pathways, including risks from
                “legacy exposures,” risks posed by byproducts, and risks which could be, but are
                not, regulated under another statute. See 88 Fed. Reg. 74298-99;
            • EPA must evaluate risks posed by, and make risk determinations for, “a chemical
                substance” as a whole. See 88 Fed. Reg. 74294; and
            • While EPA may evaluate the risks posed by various conditions of use, it may not
                make risk determinations on a use-by-use basis. See 88 Fed. Reg. 743074301-2.

      Two other issues bear mention. In its initial risk evaluations, EPA distinguished between
workers who were directly exposed to a chemical and “occupational nonusers” or ONUs. ONUs

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     See 88 Fed. Reg 74299-300.

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combined cleanup and other workers who might encounter exposures from working near a
chemical user and service and maintenance workers who might have exposures on an
intermittent basis, and each of these exposures should be assessed separately and indeed, both
may have unreasonable risks. Neither OSHA nor NIOSH rely on this distinction of evaluating
ONUs separately, and we have criticized it in several earlier comments. EPA has recognized that
“while workers and occupational nonusers may have different exposure patterns, the level of
exposures such that risks are no longer unreasonable is the same for both workers and
occupational nonusers.”46 While EPA has ignored the distinction between these two groups in
recent risk management proposals, it has continued this distinction in this proposed risk
evaluation framework. We believe it should not do so. The distinction makes no sense. All
workers exposed at the same level have similar risks—whether they directly handle a chemical
on a regular or intermittent basis, or work near others who do so. Moreover, by eliminating its
practice of evaluating risk, and making risk determinations, on a use-by-use basis, there is no
longer even an arguable reason to maintain the distinction between workers and ONUs.

         We agree with EPA that evaluating both aggregate and cumulative risks is important to
gain a full picture of the risks posed by “a chemical substance.” We are concerned however, that
efforts to quantify such risks may extend the time it takes EPA to complete a risk evaluation and
to make a risk determination. To date, occupational exposures have driven each of EPA’s
findings of unreasonable risk. And, in each case, the level of exposure EPA has found poses
unreasonable risk is orders of magnitude below the level of OSHA regulation, illustrating the
urgency of moving forward with risk management regulations to protect exposed workers. When
EPA identifies unreasonable risk to workers, we urge it to move forward with risk management
rules, even as it continues to evaluate aggregate and cumulative risks. Occupational exposure
regulation should move forward even when EPA is not sure what risk management rules may be
needed outside the workplace.

Conclusion

         We strongly support EPA’s proposal to codify its current practice and to prohibit the
Agency from assuming respirator and other PPE use in assessing occupational risk and
determining whether occupational exposures pose unreasonable risks. Its previous assumption of
PPE use in assessing risk was unprecedented; the assumption is at odds with established
industrial hygiene practice and OSHA’s approach to regulation. We object to EPA’s proposal
nonetheless to consider PPE use in assessing risk when it has “reasonably available information”
about such use. EPA may consider PPE use only during risk management. It should never do so
when evaluating the risk to workers. The revision of this risk evaluation framework is critical to
protect workers from chemicals in their workplaces and we commend EPA for moving forward
with it.

46
     88 Fed. Reg. 28292 (Risk Management Proposal for Methylene Chloride).

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